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                         iOK mi WPSTPRN DISTRICT OP VIRGINIA
                                   I.YN( l i m i R ( i DIVISION

In Ke:         KAKPN MARIP I OSTPR                           Case No. I2-606I9

               Debtor                                        Chapler I !

JOHN i . WYNNP:
               Movanl,
v.


KARPN MARIP: i O S I P R
                Kespondenl

                    MOTION I'OR KI;I,II;K I-KOM AUTOMATIC STAY
         Comes mm. John I.. Wynne. b\, and files this Molion tor KelieT from Automalic

Slay, and in support ihereofslales as follows:

         1.     This proceeding seeks relielTinder Section 362 of the U.S. liankruplcy Code and

is a contested mallei wilhin the meaning ol'Kule 90M and Rule '1001 ol'lhe I ederal Rules of

llankrupley Procedure, and ihe C'ourl has jurisdiction over this mailer pursuant to

28 U.S.C. §1.S7.

         2.     Karen Marie Foster, the Dehtor-in-Possession in this ease, has filed eighl previous

bankruptcies, seven ot them, including the instant case, in the last ten years.

         3.     John I,. Wynne and the debtor in this case, Karen M. hosier, are ihe parlies in two

 civil proceedings pending in ihe Circuit Court lor the City of I,) nchburg, VA as Case Nos.

 CL 10004795-00 and CL 10005362-00. Ihe liligation was initialed when Mr. Wynne filed an

 unlawful detention action in ihe l.yncliburg General District Court. After he was granted

 judgment, Ms. Poster appealed lo the Circuil C'ourl and has been required to post bonds lolaling

 $20,500.00, thus far. Prom May 6, 2010, when the Debtor was required lo provide $2,000.00.
                                                                                           FOSTER V. WYNNL
                                                                                          CASH NO. 12-60619

                                                                                               DEBTOR'S
                                                                                                EXHIBIT
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through November 30, 20! I when she paid $1,000.00, she paid a total of SI 9,000.00 into the

Court. On December 30, 2011, she paid an additional $1,500.00.

       4.      The suits arose IVom a loan made on August 23, 2006 by Mr. Wynne to

Ms. Foster which was evidenced by a $40,000.00 demand note and was secured by a second

deed of trust on real property then owned by Ms. l-'ostcr located at 2232 Kidgcwood Drive,

I,ynchburg, VA. Ms. Foster never made any payments under the note and Mr. Wynne

foreclosed. Ms. Foster tiled suit seeking to enjoin the foreclosure sale but her suit was

dismissed. The foreclosure sale was conducted on September 25, 2008 at which Ms. Foster was

present. On October 16, 2008 a Trustee's Deed conveying the property to Mr. Wynne was

executed and on October 2 1, 2008 was recorded in the I,ynchburg Circuit Court Clerk's office.

A copy of the October 16, 2008 Trustee's Deed with recording receipt is attached hereto as

Exhibit A. On February 16, 2010 a Certificate and Affidavit of Satisfaction was recorded in the

1,ynchburg Circuit Court Clerk's office evidencing that the debt secured by the llrst deed of trust

in the face amount of $87,832.00 had been paid. A copy of the Certificate is attached as

Exhibit B. Mr. Wynne paid that debt. On January 18, 2011 an Amended Trustee's Deed date

December 31, 2010 was recorded in the Lynchburg Circuit Court Clerk's office, a copy of which

is attached as Kxhibit C.

        5.     At a hearing held on January 9, 2012, Judge William N. Alexander ruled from the

bench that Mr. Wynne was the fee simple title owner to the premises commonly known as 2232

Kidgewood Drive, Lynchburg, VA, that Ms. Foster unlawfully withheld possession of the

property from Mr. Wynne and that Mr. Wynne was entitled to possession of the property.

Judge Alexander also directed Ms. Foster to deliver possession to Mr. Wynne without damage to

the premises. A court reporter was present at the hearing and a transcript was prepared. After
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the hearing, Mr. Wynne's counsel prepared an order tor consideration by Judge Alexander. On

January I I. 2012, as indicated on the order. Judge Alexander gave Ms. hosier's counsel until

January 23, 2012 to revieu the transcript incorporated h\e into the order.

       6.        At the hearing on January 9, 2012, Judge Alexander also continued the matter on

the docket for trial b\\n Mr. W Mine's claim for damages for the unla\l detainer of the

properly until January I I, 2012. A jury trial was held on January I I, 2012 on the issue of

damages and the jury rendered a verdict in favor of John I,. Wynne in the amount of $20,328.00.

Also on January I I, 2012. Judge Alexander granted Ms. hosier's motion to stay the writ of

possession for the property he had granted in favor of Mr. Wynne for ten days until January 23.

2012, setting the appeal bond at $125,000.00. On January 13, 2012, Mr. Wynne's counsel

prepared an order in accordance with Judge Alexander's instructions reflecting the jury's

decision and mailed it to Ms. I-osler's counsel for review. A copy of counsel's letter is attached

as Exhibit 1).

        7.       The Debtor tiled a pro se Chapter 13 Bankruptcy petition on January 13. 2012

(Case No. 12-60080). The address she provided for herself was 2232 Ridgewood Drive.

Lynchburg, VA, which is the property (hat is the subject of the litigation pending in the

l.ynchburg Circuit Court. She did not tile any of the required bankruptcy schedules with her

petition.

        8.       The Certificate of Notice filed by llie Bankruptcy Noticing Center in Case

No. 12-60080 shows that the Notice of Chapter 13 Bankruptcy and Meeting ot" Creditors were

not mailed until January 19, 2012.

        9.       On January 23, 2012, Judge Alexander signed an order setting out his rulings

 made at the January 9, 2012 hearing, apparently without being notified that Ms. foster had tiled
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her bankruptcy petition on January 13, 2012. A copy of the order signed by Judge Alexander is

attached as Txhibit H.

        10.    On January 17, 2012 this Court entered an order in Case No, 12-60080 directing

the Debtor to file the required bankruptcy schedules and statements by January 27, 2012,

including Schedules A      .1, the Statement ofi ; inancia! Affairs, and Form 22C.

        I I.    On January 27, 2012, the Debtor filed some but not all of her required schedules.

On Schedule A, she listed the real property whieh was conveyed to Mr. Wynne by the trustee's

deed in 2008 as being owned by her in fees simple. On Schedule I) she showed a debt in the

amount of $40,000.00 owed to Mr. Wynne secured by a deed of trust. On Schedule F she

showed a debt owed to Mr. Wynne in the amount of $29,000.00. On Schedule 1 she slated that

she has $1,050.00 of monthly income the source of which is "rental from house.1' On Schedule J

she staled that she pays rent or home mortgage paymenl of $1,000.00 per month. She did not Hie

a Statement of Financial Affairs. Nothing in the schedules which Ms. Foster tiled referenced the

pending litigation with Mr. Wynne.

        12.     The Debtor did not appear at either the original creditor's meeting noticed for

February 14, 2012 in Case No. 12-60080 or at the continued meeting set for February 28. 2012.

She made no payments to the Chapter I 3 Trustee and provided none of the documents requested

by him, including her most recent tax returns.

         13.    On February 20, 2012, Mr. Wynne filed a motion for relief form stay and noticed

 it for hearing on March 1 5, 2012, the date originally set by the Court for the confirmation

 hearing in the case.

         14.    On February 28, 2012, as amended on February 29, 2012, the Debtor filed a

 motion to convert her case to one under Chapter I 1, noticing a hearing for April 19, 2012. In the
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Motion to Convert, the Debtor slates that she did not have regular income of ihe type necessary

for successful Chapter 13 case and that her llnancial affairs involve the "liquidation ol'a

mechanic's lien" and the "litigation of a complex issue involving a deed of trust" \\hich are more

suited to resolution by a debtor-in-possession than by a Chapter 13 trustee.

        I 5.   In a response filed to Mr. Wynne's Motion for Relief from Stay on March 6,

2012. In the first two paragraphs of the response, the Debtor asserts that Mr. Wynne was not the

purchaser at a valid non-collusive foreclosure sale of the debtor's real property. That is exactly

what the parties litigated for two years and in part what Judge Alexander and the Circuit Court

Jury held to be the case. The Debtor also asserted that Mr. Wynne did not loan her $40,000.00

as set forth in an August 23, 2006 note and that the Deed of Trust she executed giving

Mr. Wynne a security interest in the 2232 Ridgew-ood Drive property "could not have been

validly executed to enforce payment of the note." In the Chapter 7 case the Debtor filed on

September 14, 2007 (C'ase No. 07-61731). and in which she received a discharge, the Debtor

listed Mr. Wynne as a creditor owed $40,000.00 on a debt created in 2006 and which was

secured by a second deed of trust on the 2232 Ridgewood Drive property. She listed no claims

against Mr. Wynne on Schedule li, nor did she dispute the validity of either the debt or the

security for the debt and is therefore judicially estopped from asserting any such claims at this

lime.

        16.     Because the Debtor made no attempt to comply with an> of the requirements

necessary to confirm a Chapter 13 plan, the Chapter 13 Trustee tiled a motion lo show cause why

the ease should not be dismissed and set il for hearing on March 15, 2012.

        17.     Al the hearing on March 15, 2012, this Court granted the Chapter 13 Trustee's

 motion to dismiss without prejudice thereby dismissing Mr. Wynne's motion for relief from slay
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and and denying Mr. Wynne's request made at the hearing that the order contain a prohibition

against the debtor refilling a bankruptcy petition for 90 days. The order was signed and entered

on the docket on March 16, 2012.

        18.    On March I 5, 2012, the Debtor filed a Chapter II petition. She did not file

schedules or pay the filing fee. She filed schedules on March 22, 2012, but has not yet paid the

filing fee.

         19.   On Schedule B filed in her Chapter I 1 ease, the Debtor lists the following items

of personal property:

        Claim to Recover Lot 13 Block A Iwergree (sic) Subdivision                  $ 203,000

        Pending lawsuit against John Wynne, 1'eter Saekett. and Bank of America      UNKNOWN

        Court bond posted with Lynchburg City Circuit Court                         $   20,000

The claim to recover Lot 13 Block is the litigation described in paragraphs 3 - 6 above and the

bond is the bond posted therein. In so far as Mr. Wynne is aware, the pending lawsuit of

UNKNOWN value is also that litigation.

        20.    The Lynchburg Circuit Court has resolved all matters related to the ownership of

the real property located at 2232 Ridgewood Drive and the legality of the foreclosure

proceedings.

         21.   The bond was posted in increments from May 4, 2010 through December 30,

2011. The only payment made within 90 days of the filing of her Chapter 1 1 petition on March

 15, 2012, was a $1,500.00 payment made on December 30, 201 1.

         22.   On Schedule I filed in her Chapter 1 1 ease, as well as on Schedule I filed in

Chapter 13 case No. 12-60619, the Debtor shows that she receives $ 1,000 per month from the

rental of real property, presumably from rent paid by Tim I lodges for the 2232 Ridgewood Drive
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properly as shown on Schedule G, and where the Debtor also resides. Any rent the Debtor

receives for the 2232 Ridgewood Drive is renl lhal properly belongs to Mr. Wynne, ihe owner of

the property which the Debtor continues lo unlawfully detain.

       23.     Attached as Exhibit [•' hereto is a copy of a March 23, 2012 letter written by the

Debtor's counsel to Eugene Wingfield, Clerk of'lhe Lynchburg Circuit Court requesting the

turnover of the funds paid by the Deblor as a cash bond in the litigation described in paragraphs

2 - 5 above.

In his letter. Debtor's counsel cites two eases that he asserts support Ihe requested turnover. To

Ihe contrary, however, both of the cases support granting Mr. Wynne relief from slay and

allowing ihe Lynchburg Circuit Court lo resolve any outstanding issues and dispose of the bond

in accordance with Virginia law.

       The Kansas Bankruptcy Court decision in I'ostcl holds that while a bankruptcy eslate

might have a contingent interest in a cash bond like the one at issue here, such right is subject to

being divested if the judgment in the case in which it was posted is affirmed. The Poslel Court

also held that the eredilor also had an interest in the bond and that state law should determine the

ultimate disposition of Ihe bond funds posted in a state court proceeding. The Court concluded

by requesting a party in interest lo move for relief from stay to allow ihe state court lo determine

the interests of the parties in the cash bond.

        The other case ciled by Debtor's counsel (in fact he only provides a summary of the

decision), is the 2005 decision of ihe U.S. Bankruptcy Court for the Western District of

Kentucky in In re Thermoview Industries Inc. which apparently held that the payment of a cash

bond inighl be a preferential paymenl under Section 547 of the Bankruptcy Code. Even if that

were to be the case here, which Mr. Wynne does not admit, in this case all of the payments made
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by the Debtor that constitute the bond with the exception of $1,500.00 were made more than

90 days prior to March 15, 2012, the dale this Chapter case was Illed, and thus none of the funds

are recoverable as preferences.

       24.     On Schedule B Illed in this case, the Debtor lists as an asset worth $356,000,

"100% of Dominion Homes and Land Development, Inc.". No such interest was scheduled in

her recent Chapter 13 Case No. 12-60080 or in her 2007 Chapter 7 Case No. 07-6173 I. The

records of (he Slate Corporation Commission indicate that corporate registration of Dominion

Homes and Land Development, Inc. was terminated on January 31, 2007.

       25.     The Debtor has no assets or business to reorganixe. Besides the "assets"

described in paragraph 19 and 24 above, the only other non-exempt "asset" is "Claim for

damages against John Wynne (RICO, etc.)" which is valued at $1,000,000.00. No such suit has

been brought against Mr. Wynne and could not be brought in Bankruptcy Court in any event.

The pendency of the Chapter 1 1 case has no bearing on whether such a suit could be prosecuted

by the Debtor even if Mr. Wynne could be found liable which he disputes.

        26.    The Debtor has no equity in the 2232 Ridgewood Drive properly which is not

listed on Schedule A filed in this case.

        27.    The 2232 Ridgewood Drive properly is not necessary to the Debtor's effective

reorganization, assuming that reorganization were possible or even contemplated.

        WHLRLFORL, John L. Wynne moves this Court to enter an order lifling the automatic

slay for cause; permitting him to proceed to obtain possession of the real property located at

2232 Ridgewood Drive, I.ynchburg, VA in accordance with Judge Alexander's written order

 reciting his rulings made at the January 9, 2012 hearing and as provided by Virginia law;

 allowing Judge Alexander to dispose of the bond posted by Ms. Foster on the appeal of the
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judgment in favor of Mr. Wynne in the Lynchburg General District Court as provided by

Virginia law; allowing Judge Alexander to enter a written order in accord with the jury verdict

rendered at the trial held on January 11, 2012; ordering the Debtor to pay to Mr. Wynne all funds

she has collected as rental for 2232 Ridgewood Drive, Lynchburg, VA since March I 5, 201 2;

and for such other and further relief as is appropriate.


Dated: March 28, 2012                                  John L. Wynne




                                                  By: /s/ William F. Schneider
                                                      William, F. Schneider, Esq.

William I'. Schneider, Hsq.
(VSR #32293)
Bell & Schneider, PLC
P.O. Box 739
Lynchburg, VA 24505
434.528.04! I
434.845.3666 (FAX)
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    August *5 , .'006

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    annum Installments of mleiL-st only shall tx- due and (wyabic on Ihc llrsl day <>l eai:h
    month Uegnmint; Soptcinhci 1, ?006        Payments shall be payable it! such addutss as Ihc
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    note       The cnliie unpaid pnncqi^l, accrued interest, late charges 01 any other amomils
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               The nyhl is reseived to prepay this note m whole or part al any time without
    [K-didly

               In the event of default heieundcr or the breach of any of the covenants in the Deed
    ol I rusl or this note, tlien tlie unpaid principal balance and any unpaid accrued interest
    thereon may, at the option of the holder of (his note,, and without notice, be, declared and
    become al once due and payable in lull. Any failure by the Noteholder to exercise such
    option shall not be deemed a waiver of the right lo exercise (lie same in the event of any
    subsequent default or breach.

               Presentation, demand, protest, notices of dishonor and protest, the benefit of
     homestead exemption, ami all defenses and pleas on tlie ground of any extension or
    extensions of tune or payment or of the due dates of this note, in whole or in part, before
     or after maturity, with or without notice, are hereby waived by the makers and by any and
     all endorsers, sureties, guarantors and obligors hereof, it being further agreed by them
     that tlicy will pay any collection expense, court costs and any reasonable attorney's fees
     winch may be incurred in the collection or enforcement of this note or any part hereto
                                                                                              FOSTER V. WYNNE
                                                                                             CASE NO. 12-60619

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    LYNCIIBUKti, VIRGINIA

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JOHN L WYNNE
39N Z26-5B-7275
PH. 434-384-1035  *
1688 MOLCOMB ROCK ROAD. RT. 7Q1
LYNCHBURG, VA 245O3


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          Prepared by:                                          Ta» Map No.: Ofr> " °* ~_* /J      * I*.
          Peter C. Sackett, Trustee
          714 Court Street
                         'A 24504                            —r V




          THIS TRUSTEE'S DEED, made this 16™ day of October, 2008, by and
   between PETER C. SACKETT. Trustee, party of the first part (Grantor); and JOHN L.
   WYNNE, unmarried, party of the second part (Grantee):

                                        WITNESSETH THAT:

           WHEREAS, by deed of trust dated August 23, 2006, of record in the Clerk's
   Orifice of the Circuit Court of the City of Lynchburg, Virginia, as Instrument Number
   060011337, Karen Foster conveyed the herein described real estate to Peter C. Sackett,
   Trustee, in trust, to secure to John L. Wynne the payment of the obligation therein
   described; and

           WHEREAS, default having been made in the payment of the note secured by
   said deed of trust, the holder of said note directed the party of the first part to foreclose
   and to sell the hereinafter described real estate under the terms and conditions of said
   deed of trust, and

           WHEREAS, the party of the first part advertised the hereinafter described real
   estate in accordance with the terms and conditions of said deed of trust, and offered said
    real estate for sale on the premises, on September 25, 2008, after giving written notice of
    such sale by certified mail to Karen Foster, at her last known address, required by law
    and as required under the said deed; and

    WHEREAS, at said sale the party of the second part was the high bidder at $160,000.00.

           NOW, THEREFORE, that for and in consideration of the sum of One Hundred
    Sixty Thousand and 00/100 Dollars ($160,000.00), cash in hand paid to the party of the
    first part by the party of the second part, the receipt of which is hereby acknowledged, the
    said party of the first does hereby grant and convey, with SPECIAL WARRANTY OF
    TITLE, unto the said party of the second part, the following described real estate, to-wit:




                                                                                                           f
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         That certain tot or parcel of land lying, together with any buildings and
         improvements thereon, and the privileges and appurtenances thereunto
         belonging, situate, lying and being in the City of Lynchburg, Virginia, in
         that portion thereof annexed from the County of Campbell, Virginia on
         January 1, 1926, designated as Lot 13 in Block A, on a plat entitled
         "Block 'A' Evergreen Subdivision, Bedford & Campbell Counties,
         Lynchburg, Virginia, for John C. Catherwood, Esq.", made by Wiley
         and Wilson, Consulting Engineers, dated April 10, 1957, and of record in
         the Clerk's Office of the Circuit Court for the City of Lynchburg, Virginia,
         in Deed Book 313, at page 34, and also of record in the Clerk's Office of
         the Circuit Court of Bedford County, Virginia, in Subdivision Plat Book 1,
         at page 23.
          Said property has a street address of 2232 Ridgewood Drive, Lynchburg,
          Virginia.
          Being the same identical property conveyed unto Karen Foster by Homer
          M. Foster, by deed dated April 16, 1998, and which deed is of record in
          the Circuit Court Clerk's Office of the City of Lynchburg, Virginia, in
          Deed Book 1032, at page 267.
   This conveyance is made subject to all easement; restrictions, reservations and conditions
   now binding on the above described property by recorded deed, instrument or plat.

          IN WITNESS WHEREOF, the party of the first part has hereto affixed his
   signature and seal.

                                                                                    (SEAL)
                                                       Peter C. Sackett, Trustee


   STATE OF VIRGINIA
   CITY OF LYNCHBURG, TO-WIT:

                                                                    IK
          The foregoing deed was acknowledged before me this 16 day of October, 2008
   by Peter C. Sackett, Trustee.    ..
          My commission expires:       )\**JL   J* 2 •>


                                                               Notary Public

                                                                  xSJss?^
                                                                Mr*%
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  Virginia: In the Clerk's Office of the
  Circuit Court of the City of Lynchburg                            Tax
  The foregoing instrument was this cloy
  presented in the office aforesaid and               /33. 33       City Tax
  is, together with the certificate of                              Transfer
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